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                                                                                           Form 17-1


                                                                                       Form 17

                 UNITED STATES COURT OF INTERNATIONAL TRADE

     The Mosaic Company
                                          Plaintiff,

                         v.                                        Court No.           23-00246
 United States
                                          Defendant.


                BUSINESS PROPRIETARY INFORMATION CERTIFICATION

______________________________
Kanzanira Thorington           certifies that

1.      I am

        □✔      an attorney at the law firm of ________________________;
                                               Wilmer Cutler Pickering Hale and Dorr LLP or an attorney in
                the corporate legal department of _______________________, and I have
                read and am familiar with the Rules of the United States Court of
                International Trade.

        □       a consultant employed by _____________________________________.

2.      I represent, or am retained by or on behalf of

        □✔      a party to this action,

        □       an interested party that has filed a motion to intervene in this action, which is
                identified below:
                __________________________________________________________.

3.      I was

        □✔      granted access to business proprietary information subject to an
                administrative protective order in the administrative proceeding which gives
                rise to this action.

        □       not subject to an administrative protective order in the administrative
                proceeding which gives rise to this action. All parties to this action and
                interested parties who are entitled to service of this Certification pursuant to
                Rules 5 and 73.2(c)(5) of the United States Court of International Trade are
                listed below:
         Case 1:23-cv-00246-N/A Document 4-4          Filed 11/28/23       Page 2 of 2


                                                                                       Form 17-2




                  Party                            Attorney                   Date of Contact




     Each of these parties or interested parties has been contacted; none has objected
     to my access to proprietary information in this action subject to Administrative Order
     No. 02-01 of the United States Court of International Trade.

4.   I am

     □✔      (for attorneys) not involved in competitive decision making for the interested
             party I represent.

     □       (for consultants) independent of all parties in this action.

5.   I have read and agree to be bound by the terms of Administrative Order No. 02-01
     of the United States Court of International Trade.
                                           /s/ Kanzanira Thorington
                                          ___________________________
                                                 [Attorney or consultant]
                                          Wilmer Cutler Pickering Hale and Dorr LLP
                                          ____________________________
                                          7 World Trade Center, 250 Greenwich Street
                                          ____________________________
                                          New York, NY 10007
                                          ____________________________
                                          (212) 295-6544


      11/28/2023
Date: ________________
